Case 5:12-cV-03414-T.]S Document 5 Filed 10/05/12 Page 1 of 2

l UNITED STATES DISTRICT C()URT

 

3 EASTERN DISTRICT OF PENNSYLVAN[A
5
7 BRIAN C. HUMPHREYS, ) C.aS€ No,: 5:12-cv-034l4-TJS
9 Plaintiff, g VOLUNTARY DISMISSAL WITH
) PREJUDICE
11 Vs_ )
13 PENN CREDIT CORPORATTON, §
15 Defendant §
17 COMES NOW, the Plaintiff, fieer and )voluntarily dismisses the action filed herein

19 against the Defendant-, PENN CREDIT CORPORATION, with prejudice.
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21 Dazed this 4"' day of october, 2012
29 By-' PJ'MC E§U@Q/F’>\.

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Dismissal - l

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CERT]FICATE ()F SERVICE

I I-IEREBY CERTIFY that a true and correct copy of the foregoing was mailed to:
PENN CREDIT CORPORATION, 916 S. 14ch St., Harrisburg, PA 17104,_ on this 4th day
of October, 2012.

By:

M

Brian C. Humphreys,
Plaintiff, pro se

Dismissal, Casc No.: 5:12~cv-034l4-TJS

